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UNITED STATES DISTRICT C()URT

SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
§

v. § CRIMINAL NO. H-18-52 (2) (SZ)

§
RAYMOND JONES §
§
§
Defendant. §

PLEA AGREEMENT

The United States of America, by and through Ryan K. Patrick, United States Attorney
for the Southern Distriet of Texas, and John D. Jocher, Assistant United States Attorney, and the
defendant, Raymond Jones (“Defendant”), and Defendant’s counsel, pursuant to Rule ll(c)(l)(A)
and ll(c)(l)(B) of the Federal Rules of Criminal Procedure, state that they have entered into an
agreement, the terms and conditions of which are as follows:

Defendant's Agreement

l. Defendant agrees to plead guilty to Count One of the Indictment. Count One charges
Defendant with conspiracy to possess with the intent to distribute a controlled substance, to wit:
50 grams or more of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule ll
narcotic controlled substance, in violation of Title 21, United States Code, Sections 846 and
84l(a)(l) and (b)(l)(A)(viii). Defendant, by entering this plea, agrees that he/she is waiving any
right to have the facts that the law makes essential to the punishment either charged in the

indictment, or proved to a jury or proven beyond a reasonable doubt.

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Punishment Range

2. The statuto;v_ maximum penalty for violation of Title 21, United States Code,

Sections 846 and 84l(a)(l) and (b)(l)(A)(viii), is imprisonment of not less than 10 years and
or more than life, and fine of not more than $10,000,000. Additionally, Defendant may receive a
term of supervised release after imprisonment of at least 5 years. See Title 18, United States Code,
sections 355 9(a)(l), and 3583(b)(l). Defendant acknowledges and understands that if he/she
should violate the conditions of any period of supervised release which may be imposed as part of
his/her sentence, then Defendant may be imprisoned for up to 5 years, without credit for time
already served on the term of supervised release prior to such violation. See Title 18, United
Stated Code, sections 3559(a)(l), and 3583(€)(3). Defendant understands that he/she cannot have
the imposition or execution of the sentence suspended, nor is he/she eligible for parole.
Mandatory Special Assessment

3. Pursuant to Title 18, United States Code, section 3013(a)(2)(A), immediately after
sentencing, Det`endant will pay to the Clerk of the United States District Court a special assessment
in the amount of one hundred dollars ($100.00) per count of conviction. The payment will be by
cashier’s check or money order, payable to the Clerk of the United States District Court, c/o District
Clerk’s Oft`lce, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

Immigration Consequences

4. Defendant recognizes that pleading guilty may have consequences with respect to
his/her immigration status. Defendant understands that if he/she is not a citizen of the United
States, by pleading guilty he/she may be removed from the United States, denied citizenship, and

denied admission to the United States in the future. Det`endant understands that if he/she is a

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naturalized United States citizen, pleading guilty may result in immigration consequences, such as
denaturalization and potential deportation or removal from the United States. Defendant’s
attorney has advised Defendant of the potential immigration consequences resulting from
Defendant’s plea of guilty, and Defendant affirms that he/she wants to plead guilty regardless of

any immigration consequences that may result from the guilty plea and conviction.

Waiver of Appeal and Collateral Review

5. Defendant is aware that Title 28, United States Code, section 1291, and Title 18, United
States Code, section 3742, afford a defendant the right to appeal the conviction and sentence
imposed. Defendant is also aware that Title 28, United States Code, section 2255, affords the right
to contest or “collaterally attack” a conviction or sentence after the judgment of conviction and
sentence has become final. Defendant knowingly and voluntarily waives the right to appeal or
“collaterally attack” the conviction and sentence, except that Defendant does not waive the right
to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on
collateral review in a motion under Title 28, United States Code, section 2255. Defendant’s
knowing and voluntary waiver of the right to appeal or collaterally attack the conviction and
sentence includes waiving the right to raise on appeal or on collateral review any argument that
(l) the statute(s) to which the defendant is pleading guilty is unconstitutional and (2) the admitted
conduct does not fall within the scope of the statute(s). ln the event Defendant files a notice of
appeal following the imposition of the sentence or later collaterally attacks his conviction or
sentence, the United States will assert its rights under this agreement and seek specific performance

of these waivers.

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6. ln agreeing to these waivers, Defendant is aware that a sentence has not yet been
determined by the Court. Defendant is also aware that any estimate of the possible sentencing
range under the sentencing guidelines that he/she may have received from his/her counsel, the
United States or the Probation Office, is a prediction and not a promise, did not induce his/her
guilty plea, and is not binding on the United States, the Probation Offlce or the Court. The United
States does not make any promise or representation concerning what sentence the defendant will
receive. Defendant further understands and agrees that the United States Sentencing Guidelines
are “effectively advisory” to the Court. See United States v. Booker, 543 U.S. 220 (2005).
Accordingly, Defendant understands that, although the Court must consult the Sentencing
Guidelines and must take them into account when sentencing Defendant, the Court is not bound
to follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline range.

7. Defendant understands and agrees that each and all waivers contained in the Agreement
are made in exchange for the concessions made by the United States in this plea agreement

The United States’ Agreements

8. The United States agrees to each of the following:

(a) The defendant agrees to waive his right to appeal his conviction and
sentence, directly or collaterally;

(b) lf recommended by the United States Probation Offlce, the United States
agrees to recommend that defendant receive a 2 level downward adjustment
pursuant to U.S.S.G. Section 3El.l(a), for acceptance of responsibility as
contemplated by the Sentencing Guidelines;

(c) lf the Court determines that Defendant qualifies for an adjustment under
section 3El.l(a) of the United States Sentencing Guidelines, and the effense level
prior to operation of section 3El .l(a) is l6 or greater, the United States will move
under section 3El.l(b) for an additional one-level reduction because Defendant
timely notified authorities of his or her intent to plead guilty, thereby permitting the
United States to avoid preparing for trial and permitting the United States and the

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Court to allocate their resources more efficiently;

(d) lf Defendant qualifies for an adjustment under U.S.S.G. §5Cl.2 (safety
valve), the United States agrees not to oppose the defendant’s request for its
application at the time of sentencing;

(e) The United States agrees to recommend a l\/Iitigating Role: -2 (minor

participant) pursuant to U.S.S.G. Section 3Bl .2 (b);

(f) The United States agrees to recommend a sentence at the low end of the

applicable guideline range.

Agreement Binding - Southem District of Texas Only

9. The United States Attorney’s Offlce for the Southem District of Texas agrees that it
will not further criminally prosecute Defendant in the Southem District of Texas for offenses
arising from conduct charged in the indictment This plea agreement binds only the United States
Attorney’s Offlce for the Southem District of Texas and Defendant. lt does not bind any other
United States Attorney’s Offlce. The United States Attorney’s Office for the Southem District of
Texas will bring this plea agreement and the full extent of Defendant’s cooperation to the attention

of other prosecuting offlceS, if requested.

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United States' Non-Waiver of Appeal
10. The United States reserves the right to carry out its responsibilities under guidelines
sentencing. Speciflcally, the United States reserves the right:
(a) to bring its version of the facts of this case, including its evidence file and
any investigative files, to the attention of the Probation Offlce in connection with
that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with Defendant’s
counsel and the Probation Offlce;

(d) to file a pleading relating to these issues, in accordance with section 6Al .2
of the United States Sentencing Guidelines and Title 18, United States Code,
section 3553(a); and

(e) to appeal the sentence imposed or the manner in which it was determined

Sentence Determination

l l . Defendant is aware that the sentence will be imposed after consideration of the United
States Sentencing Guidelines and Policy Statements, which are only advisory, as well as the
provisions of Title 18, United States Code, section 3553(a). Defendant nonetheless acknowledges
and agrees that the Court has authority to impose any sentence up to and including the statutory
maximum set for the offense(s) to which Defendant pleads guilty, and that the sentence to be
imposed is within the sole discretion of the sentencing judge after the Court has consulted the
applicable Sentencing Guidelines. Defendant understands and agrees that the parties’ positions
regarding the application of the Sentencing Guidelines do not bind the Court and that the sentence
imposed is within the discretion of the sentencingjudge. lf the Court should impose any sentence

up to the maximum established by statute, or should the Court order any or all of the sentences

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imposed to run consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and
will remain bound to fulfill all of the obligations under this plea agreement
Rights at Trial
12. Defendant understands that by entering into this agreement, he/she surrenders certain
rights as provided in this plea agreement Defendant understands that the rights of a defendant

include the following:

(a) lf Defendant persisted in a plea of not guilty to the charges, defendant would
have the right to a speedy jury trial with the assistance of counsel. The trial may
be conducted by a judge sitting without a jury if Defendant, the United States, and
the court all agree.

(b) At a trial, the United States would be required to present witnesses and other
evidence against Defendant. Defendant would have the opportunity to confront
those witnesses and his/her attorney would be allowed to cross-examine them. ln
tum, Defendant could, but would not be required to, present witnesses and other
evidence on his/her own behalf. lf the witnesses for Defendant would not appear
voluntarily, he/she could require their attendance through the subpoena power of
the court; and

(c) At a trial, Defendant could rely on a privilege against self-incrimination and

decline to testify, and no inference of guilt could be drawn from such refusal to

testify. However, if Defendant desired to do so, he/she could testify on his/her

own behalf.

Factual Basis for Guilty Plea

13. Defendant is pleading guilty because he/she is in fact guilty of the charges contained
in Count One of the indictment. lf this case were to proceed to trial, the United States could prove
each element of the offense beyond a reasonable doubt. The following facts, among others would
be offered to establish Defendant’s guilt:

(a) Between December 2015 and February 2016, HSl agents and Task Force Officers

from Montgomery County, Texas, made multiple methamphetamine purchases from Ivan Salazar-

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Zarazua using a confidential source to conduct the transactions Agents, who had their source
coordinate the drug deals with Salazar-Zarazua by phone, subsequently obtained authorization
from United States District Judge Vanessa Gilmore to intercept Zarazua’s phone beginning on
April 20, 2016,

(b) On June 9, 2016 and June 10, 2016, agents intercepted multiple telephone
conversations from Salazar-Zarazua’s phone. These calls were between Salazar-Zarazua and
Santos Vale Rodriguez. Rodriguez made contact with Salazar-Zarazua to make arrangements for
the purchase of two Kilograms of Methamphetamine on behalf of his (Rodriguez’s) brother-in-
law. The recoreded conversations included the following:

Call Session 2321: Rodriguez told Salazar-Zarazua he had the money for two and asked
Salazar-Zarazua for a better price for his brother-in-law. Salazar-Zarazua said that he's only
making $300. Rodriguez tried to get the price down to $8,700 and Salazar-Zarazua said that he
was staying at $8,900. Rodriguez agreed to the price and said that he needed two for the
morning. Salazar-Zarazua agreed and Rodriguez said that he would call his brother-in-law and
tell him to come.

Call Session 2329: Rodriguez called Salazar-Zarazua again told him that he will be at the
house in the morning. Rodriguez again explained to Salazar-Zarazua that his brother-in-law
wanted a cheaper price because he would make multiple purchases, but Salazar-Zarazua refused
to budge on the price.

(c) On June 10, 2016, agents initiated surveillance at Salazar-Zarazua’s residence located
at 4513 Dewberry St., Houston, and shortly after 7:30 a.m., an officer observed Salazar-Zarazua,
along with two unidentified Hispanic males, exit the residence. The officer observed Salazar-
Zarazua place an object in the trunk of his 2006 BMW, 4 door and then they departed the residence
in the vehicle. Subsequently, the following recorded conversations were intercepted between
Rodriguez and Salazar-Zarazua:

Call Session 2348: Approximately l 1123, Rodriguez told Salazar-Zarazua that “he” is

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going to be at his (Rodriguez’s) house around 12:45 or 1:00. Salazar-Zarazua complained that
he was already late and Rodriguez reassured him that “he” (brother-in-law) would be there at
12:45 or 1:00.

Call Session 2352: Approximately 1:23 p.m., Rodriguez told Salazar-Zarazua that he
needed to make sure all the grams were there because last time he was missing grams. Salazar-
Zarazua told Rodriguez that everything was good and that he had a scale.

Call Session 2356: Approximately 2:10 p.m. Rodriguez told Salazar-Zarazua that he (his
brother-in-law) was about to pull up. Salazar-Zarazua replied that he would be there in 10-20
minutes.

(d) Surveillance units watching Rodriguez’s residence, located in Houston, Texas,
observed two vehicles arrive at the location. A 2013 Volkswagen J etta registered to Johnny Roman
and a rented 2015 Chevy Tahoe registered to EAN Holdings (DBA Enterprise Rental Car).

Agents observed a black male, later identified as Raymond Jones, exit the black
Volkswagen Jetta and a Hispanic male, later identified as Johnny Roman, exit the Tahoe. Several
minutes later, Salazar-Zarazua and the two males arrived and parked the BMW in the driveway.
Salazar-Zarazua and the two unidentified males exited the BMW and Salazar-Zarazua and
retrieved a package from the trunk. Rodriguez, Jones and Roman met Salazar-Zarazua in the
driveway and then they all entered the Rodriguez’s residence. Several minutes later, Salazar-
Zarazua and the two males exited the residence and left in the BMW with Salazar-Zarazua in the
driver seat. Next, Jones and Roman exited the front door of the residence. Agents observed that
Jones carried a black box from the house that he placed in the trunk of the Jetta. Surveillance saw
Roman exit the residence carrying a black backpack/bag that he placed it into the Tahoe before he
drove away. When the three vehicles and suspects departed from the address, agents maintained

surveillance on the Chevy Tahoe driven by Roman and Volkswagon Jetta driven by Jones.

Subsequently, Jones’s vehicle was stopped by officers and a search of the vehicle led to the

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discovery of 3 plastic bags of methamphetamine inside the black box Jones was seen to carry to
his car. Agents labeled the methamphetamine and submitted it to the HSI Laboratory for analysis
where analysts determined that drugs contained Methamphetamine Hydrochloride with a net
weight of 1,968.73 grams and a purity level of 100%.

(e) After his arrest, co-defendant Santos Vale Rodriguez debriefed with the government
Vale Rodriguez explained that he knew Jones personally and that on the date that agents observed
Salazar-Zarazua, Roman, and Jones at his house, and that Roman provided the money to Salazar-
Zarazua to purchase the methamphetamine Vale Rodriguez also described that Roman gave the
drugs to Jones to transport them after he (Roman) paid Salazar-Zarazua for the methamphetamine
Moreover, co-defendant Roman debriefed with the government and confirmed that he gave the
methamphetamine to Jones to transport back to the College Station area.

(f) At trial, the United States would have introduced the intercepts discussed herein
and testimony from Vale Rodriguez and Roman about Jones’s role Finally, the government
would have introduced the laboratory test results for the seized methamphetamine and federal
agents would have confirmed that the narcotics seized from Jones is a quantity consistent with
narcotics distribution/trafficking, not personal use

Breach of Plea Agreement

14. lf Defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and Defendant’s plea and sentence will stand. lf at any time Defendant retains,
conceals, or disposes of assets in violation of this plea agreement, or if Defendant knowingly

withholds evidence or is otherwise not completely truthful with the United States, then the United

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States may move the Court to set aside the guilty plea and reinstate prosecution. Any information

and documents that have been disclosed by Defendant, whether prior to or subsequent to this plea

agreement, and all leads derived therefrom, will be used against defendant in any prosecution.
Restitution, Forfeiture, and Fines - Generally

l5. This Plea Agreement is being entered into by the United States on the basis of
Defendant’s express representation that he/she will make a full and complete disclosure of all
assets over which he/she exercises direct or indirect control, or in which he/she has any financial
interest. Defendant agrees not to dispose of any assets or take any action that would effect a
transfer of property in which he/she has an interest, unless Defendant obtains the prior written
permission of the United States.

16. Defendant agrees to make complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500 or similar form) within 14 days of signing this plea
agreement Defendant agrees to authorize the release of all financial information requested by
the United States, including, but not limited to, executing authorization forms permitting the
United States to obtain tax information, bank account records, credit histories, and social security
information. Defendant agrees to discuss and answer any questions by the United States relating
to Defendant’s complete financial disclosure

17. Defendant agrees to take all steps necessary to pass clear title to forfeitable assets to
the United States and to assist fully in the collection of restitution and fines, including, but not
limited to, surrendering title, executing a warranty deed, signing a consent decree, stipulating to

facts regarding the transfer of title and the basis for the forfeiture, and signing any other documents

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necessary to effectuate such transfer. Defendant also agrees to direct any banks which have
custody of his/her assets to deliver all funds and records of such assets to the United States.

18. Defendant understands that forfeiture, restitution, and fines are separate components
of sentencing and are separate obligations

Restitution

19. Defendant agrees to pay full restitution to the victim(s) regardless of the count(s) of
conviction. Defendant understands and agrees that the Court will determine the amount of
restitution to fully compensate the victim(s). Defendant agrees that restitution imposed by the
Court will be due and payable immediately and that Defendant will not attempt to avoid or delay
payment. Subject to the provisions of paragraph 5 above, Defendant waives the right to challenge
in any manner, including by direct appeal or in a collateral proceeding, the restitution order
imposed by the Court.

Forfeiture

20. Defendant stipulates and agrees that the property listed in the lndictment’s Notice of
Forfeiture (and in any supplemental Notices) is subject to forfeiture and Defendant agrees to the
forfeiture of that property.

21. Defendant agrees to waive any and all interest in any asset which is the subject of a
related administrative or judicial forfeiture proceeding, whether criminal or civil, federal or state

22. Defendant consents to the order of forfeiture becoming final as to Defendant
immediately following this guilty plea, pursuant to F ederal Rule of Criminal Procedure

32.2(b)(4)(A).

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23. Subject to the provisions of paragraph 5 above, Defendant waives the right to
challenge the forfeiture of property in any manner, including by direct appeal or in a collateral
proceeding

Fines

24. Defendant understands that under the Sentencing Guidelines the Court is permitted to
order Defendant to pay a fine that is sufficient to reimburse the government for the costs of any
imprisonment or term of supervised release, if any. Defendant agrees that any fine imposed by
the Court will be due and payable immediately-, and Defendant will not attempt to avoid or delay
payment. Subject to the provisions of paragraph 5 above, Defendant waives the right to challenge
the fine in any manner, including by direct appeal or in a collateral proceeding

Complete Agreement

25 . This written plea agreement, consisting of 16 pages, including the attached addendum
of Defendant and his/her attorney, constitutes the complete plea agreement between the United
States, Defendant, and Defendant’s counsel. No promises or representations have been made by

the United States except as set forth in writing in this plea agreement Defendant acknowledges

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that no threats have been made against him/her and that he/she is pleading guilty freely and
voluntarily because he/she is guilty.

26. Any modification of this plea agreement must be in writing and signed by all parties.

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Defendant z

Subscribed and sworn to before me on F€-Bn/\FW? l | , 2019.

 

DAVID J. BRADLEY, Clerk
UNITED STAleS DISTRICT CLERK

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By: ll v h §§

 

 

APPROVED:

  

 

  
   

 
  

Jo;%ke //
A rney for Defendant

* ssist t Un' ed States Attorney
South rn D' trict of Texas

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED sTATEs oF AMER!CA §

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v. § CRIMINAL No. H-ls_sz (2) (sz)

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RAYMOND JoNEs §
§
§
§

Defendant.
PLEA AGREEMENT -- ADDENDUM

l have fully explained to Defendant his/her rights with respect to the pending indictment. l

have reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual
and Policy Statements and l have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case l have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the maximum
allowed by statute per count of conviction. Further, I have carefully reviewed every part of this

plea agreement with Defendant. To my knowledge, Defendant’s decision to enter into this

agreement is eye
,/ ¢/i /1/ 14

Date

  

ey for Defendant

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l have consulted with my attorney and fully understand all my rights with respect to the
indictment pending against me. My atctorney has fully explained, and l understand, all my rights
with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual
which may apply in my case l have read and carefully reviewed every part of this plea agreement
with my attomey. l understand this agreement and I voluntarily agree to its terms.

Z//(//g

Date

 

 

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